           Case 1:21-cr-00495-ABJ Document 45 Filed 08/22/22 Page 1 of 2




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,                     )
                                              )
       v.                                     )      No. 21-495 (ABJ)
                                              )
DANIEL PAUL GRAY,                             )
                                              )
                       Defendant.             )
                                              )

                             MOTION TO WITHDRAW AS COUNSEL

       Defendant, Daniel Gray, through counsel, respectfully requests that the Court permit

undersigned counsel to withdraw as attorney of record. Undersigned counsel submits as

follows:

       1. Mr. Gray notified me that he retained counsel in this matter and that the new

            attorney would be filing his notice of appearance. On July 30, 2022, John Pierce

            noticed his appearance in the case.

       2. Based on the above, undersigned counsel respectfully requests that the Court allow

            her to withdraw as counsel of record.



                                              Respectfully submitted,

                                              A. J. KRAMER
                                              FEDERAL PUBLIC DEFENDER

                                                      /s/

                                              Maria N. Jacob
                                              D.C. Bar No. 1031486
                                              Assistant Federal Public Defender
Case 1:21-cr-00495-ABJ Document 45 Filed 08/22/22 Page 2 of 2




                            625 Indiana Avenue, N.W., Suite 550
                            Washington, D.C. 20004
                            (202) 208-7500
                            Maria_Jacob@fd.org
